









Dismissed and Memorandum Opinion filed November 17, 2005









Dismissed and Memorandum Opinion filed November 17,
2005.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01013-CR

____________

&nbsp;

MALCOLM BOYD PRICE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
268th District Court

Fort Bend County,
Texas

Trial Court Cause No. 40,726A

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a plea of guilty, appellant was convicted of the
offense of injury to elderly and sentenced on July 12, 2005, to 35 years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; No timely motion for new trial was
filed.&nbsp; Appellant=s notice of appeal was not filed
until September 12, 2005.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of appeal which complies with the
requirements of Rule 26 is essential to vest the court of appeals with
jurisdiction.&nbsp; Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Memorandum
Opinion filed November 17, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





